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                              UNITED STATES DISTRICT COURT
                                   DISTRICT OF MAINE

  JANEEN MILLER, et al.,,                               )
                                                        )
                            Plaintiffs,                 )
                                                        )
  v.                                                    ) Docket no. 2:08-cv-355-GZS
                                                        )
  KRISTEN NICHOLS, et al,                               )
                                                        )
                                                        )
                            Defendants.                 )


                   ORDER REQUIRING REVISED REDACTED FILING


          The Court’s recent review of the docket in this case has uncovered filings that fail
  to comply with the requirements of Federal Rule of Civil Procedure 5.21; namely the
  Attachments to Plaintiffs’ Motion to Temporary Restraining Order (Docket #s 7-2 – 8-
  14). Plaintiffs’ counsel is hereby instructed to cure this violation of Rule 5.2 by filing a
  properly redacted version of the document within seven days of this Order.
          In accordance with Rule 5.2(e), the Court hereby ORDERS that the Attachments
  to Plaintiffs’ Motion to Temporary Restraining Order (Docket #s 7-2 – 8-14) be
  SEALED in order to prohibit remote electronic access to the document by any nonparty.
          Counsel are reminded that under both Rule 5.2 and the District’s Administrative
  Procedures Governing the Filing and Service by Electronic Means, it is their
  responsibility to ensure that all filings are properly redacted.
          SO ORDERED.
                                                               /s/ George Z. Singal
                                                               Chief U.S. District Judge

  Dated this 12th day of November, 2008.



  1
    Federal Rule of Civil Procedure 5.2 became effective on December 1, 2007. Even prior to that date,
  redaction of personal identifiers was required pursuant to the District’s Administrative Procedures
  Governing the Filing and Service by Electronic Means.
